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FILED BY __ D_Q_
IN THE UNITED STATES DISTRICT COURT f
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUNZ| AH 6,. in
WESTERN DIVISION

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W.D. OF TN, MEMPH|S

UNITED STATES OF AMERICA,
Plaintiff,

vs. No. 05-2422-D/P

BRYANT KEITH STAFFNEY,

Defendant.

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ORDER TRANSFERRING CASE PURSUANT TO 28 U.S.C. § 1406(3)

 

Defendant Bryant Keith Staffney, Bureau of Prisons inmate
registration number 24468-001, an inmate at the Federal
Correctional Institution in Memphis, filed a prg §§ motion pursuant
to 28 U.S.C. § 2255 on June 7, 2005.

The first paragraph of 28 U.S.C. § 2255 provides, in
pertinent part, as follows:

A prisoner in custody under sentence of a court
established by Act of Congress claiming the right to be
released upon the ground that the sentence was imposed in
violation of the Constitution or laws of the United
States, or that the court was without jurisdiction to
impose such sentence, or that the sentence was in excess
of the maximum authorized by law, or is otherwise subject
to collateral attack, may move the court which imposed
the sentence to vacate, set aside or correct the
sentence. (Emphasis added.)

In this motion, Staffney is challenging a sentence that

was imposed by the United States District Court for the Northern

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with eula 58 and/or ve(a) FRGP on ' '0\.)

 

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District of Alabama, Southern Division. Accordingly, this Court
lacks jurisdiction to consider Staffney's § 2255 motion.
Twenty-eight U.S.C. § l406(a) states:
The district court of a district in which is filed a case
laying venue in the wrong division or district shall
dismiss, or if it be in the interest of justice, transfer
such case to any district or division in which it could
have been brought.
For the reasons stated, this action should have been brought in the
Southern Division of the United States District Court for the
Northern District of Alabama. Therefore, it is hereby ORDERED,
pursuant to 28 U.S.C. § l406(a), that this case is TRANSFERRED,

forthwith, to the Northern District of Alabama, Southern Division.

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IT IS SO ORDERED this ch) day of June, 2005.

  

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s NICE B. DONALD \
U ITED sTATEs DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02422 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

Bryant Keith Staffney
FC1-1\/[E1\/[PH[S
24468-001

1101 John A. Denie Road
1\/1emphis7 TN 3 8184

Honorable Bernice Donald
US DISTRICT COURT

